     Case: 1:19-cv-03490 Document #: 19 Filed: 09/24/19 Page 1 of 1 PageID #:72

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Gail R. Gosnell
                                 Plaintiff,
v.                                                Case No.: 1:19−cv−03490
                                                  Honorable Sharon Johnson Coleman
Cavalry SPV I, LLC, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 24, 2019:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this case is dismissed with prejudice with
each party to bear its own costs and attorney fees. Defendants' motion to dismiss [12] is
stricken as moot. Civil case terminated. Mailed notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
